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                                   UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF TEXAS
                                                     HOUSTON DIVISION


In re: Fieldwood Energy Offshore LLC                              §                 Case No. 20-33950
                                                                  §
                                                                                    Lead Case No. 20-33948
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 06/30/2022                                                            Petition Date: 08/03/2020



Plan Confirmed Date:06/25/2021                                                       Plan Effective Date: 08/27/2021


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Plan Administrator
                                                                                   Name of Authorized Party or Entity




/s/ Joseph R. Dunn                                                      Joseph R. Dunn
Signature of Responsible Party                                           Printed Name of Responsible Party
07/20/2022
                                                                        Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
Date                                                                    3580 Carmel Mountain Road, Ste 300
                                                                        San Diego, CA 92130
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name Fieldwood Energy Offshore LLC                                                               Case No. 20-33950


Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                             Current Quarter        Effective Date

 a. Total cash disbursements                                                                                $0                   $0
 b. Non-cash securities transferred                                                                         $0                   $0
 c. Other non-cash property transferred                                                                     $0                   $0
 d. Total transferred (a+b+c)                                                                               $0                   $0

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0            $0             $0              $0
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        N/A                                                                    $0            $0             $0              $0
        ii
        iii
        iv
        v
        vi
        vii
        viii
        ix
        x
        xi
        xii
        xiii
        xiv
        xv
        xvi
        xvii
        xviii
        xix
        xx
        xxi
        xxii
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        xxvi
        xxvii
        xxviii
        xxix


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       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi
       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
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       li
       lii
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       lv
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       lvii
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       lxii
       lxiii
       lxiv
       lxv
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       lxvii
       lxviii
       lxix
       lxx
       lxxi

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       lxxvii
       lxxviii
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       lxxxvi
       lxxxvi
       lxxxvi
       lxxxix
       xc
       xci
       xcii
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       xciv
       xcv
       xcvi
       xcvii
       xcviii
       xcix
       c
       ci


                                                                             Approved       Approved     Paid Current     Paid
                                                                           Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor            Aggregate Total
                                                                                      $0            $0             $0           $0
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         N/A                                                                  $0            $0             $0           $0
       ii
       iii
       iv
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       vi


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       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
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       xxvi
       xxvii
       xxviii
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       xxxiii
       xxxiv
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       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii

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       xlix
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       li
       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
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       lxiii
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       lxxxvi
       lxxxvi
       lxxxix
       xc

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            xci
            xcii
            xciii
            xciv
            xcv
            xcvi
            xcvii
            xcviii
            xcix
            c
            ci
c.          All professional fees and expenses (debtor & committees)                       $0             $0           $0            $0

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                 % Paid of
                                                  Payments          Paid Current                                             Allowed
                                                 Under Plan           Quarter           Paid Cumulative    Allowed Claims     Claims
 a. Administrative claims                                      $0              $0                    $0                $0          0%
 b. Secured claims                                             $0              $0                    $0                $0          0%
 c. Priority claims                                            $0              $0                    $0                 $0         0%
 d. General unsecured claims                                   $0                  $0                $0                 $0         0%
 e. Equity interests                                           $0              $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                           Yes     No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         12/31/2022
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                 Yes     No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/                                                                   David Dunn
Signature of Responsible Party                                         Printed Name of Responsible Party
Plan Administrator                                                     07/20/2022
Title                                                                  Date




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                                               Non-Bankruptcy Table 1-50




                                              Non-Bankruptcy Table 51-100




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